  Case 1:19-md-02915-AJT-JFA Document
         Case MDL No. 2915 Document 1961 Filed
                                         Filed 10/02/19
                                               10/02/19 Page
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                                                             1 of44 PageID# 1


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                             UNITED STATES JUDICIAL PANEL                       b
                                                on                                      OCT'2 2019
                                  MULTIDISTRICT LITIGATION
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                       ALEXANDRIA. VIRGINIA


IN RE: CAPITAL ONE CUSTOMER
DATA SECURITY BREACH LITIGATION                                                       MDL No. 2915


                                      TRANSFER ORDER



        Before the Panel:' Plaintiffs in two actions move separately under 28 U.S.C. § 1407 to
centralize this litigation. Movant in one action seeks centralization in the Western District of
Washington or, alternatively, the District of District of Columbia. Movants in five actions seek
centralization in the District ofDistrict ofColumbia. Plaintiffs' motions include 21 actions pending
in 12 districts, as listed on Schedule A. The Panel also has been notified of40 potentially-related
actions filed in 13 districts.'

        The responding parties generally support centralization,though plaintiffs in one potential tag-
along action oppose inclusion oftheir action in centralized proceedings. The remaining responding
plaintiffs variously support centralization in the Western District of Washington, the District of
District of Columbia, the Eastem District of Virginia, and/or the Northern District of California.
Defendant GitHub,Inc.(GitHub)does not oppose centralization and does not have a preference as
to transferee district. The Capital One defendants'and the AWS defendants^ support centralization
in the Eastem District of Virginia.

      Onthe basis ofthe papersfiled and the hearing held,we find that centralization under Section
1407 of all actions in the Eastem District of Virginia will serve the convenience ofthe parties and
wimesses and promote the just and efficient conduct of this litigation. These actions share factual
issues concerning a recently-announced incident in which an individual gained unauthorized access

                 Judge Nathaniel M. Gorton took no part in the decision of this matter.
        Additionally, one or more Panel members who could be members ofthe putative classes in
this litigation have renounced their participation in these classes and have participated in this
decision.


        '        These and any other related actions are potential tag-along actions. See Panel Rules
 1.1(h), 7.1, and 7.2.

         ^       Capital One Financial Corporation,Capital One Bank(USA),N.A.,and Capital One,
 N.A.

         ^       Amazon.com, Inc. and Amazon Web Services, Inc.
Case 1:19-md-02915-AJT-JFA Document 1 Filed 10/02/19 Page 2 of 4 PageID# 2
Case 1:19-md-02915-AJT-JFA Document 1 Filed 10/02/19 Page 3 of 4 PageID# 3
Case 1:19-md-02915-AJT-JFA Document 1 Filed 10/02/19 Page 4 of 4 PageID# 4
